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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT


 AMERICAN CABLE ASSOCIATION, CTIA
 – THE WIRELESS ASSOCIATION, NCTA –
 THE INTERNET & TELEVISION
 ASSOCIATION, NEW ENGLAND CABLE
 & TELECOMMUNICATIONS
 ASSOCIATION, and USTELECOM – THE
 BROADBAND ASSOCIATION, on behalf of                       Case No. 2:18-cv-00167-CR
 their members,

                             Plaintiffs,

               v.

 PHILIP B. SCOTT, in his official capacity as
 the Governor of Vermont; SUSANNE R.
 YOUNG, in her official capacity as the
 Secretary of Administration; JOHN J. QUINN
 III, in his official capacity as the Secretary and
 Chief Information Officer of the Vermont
 Agency of Digital Services; and JUNE E.
 TIERNEY, in her official capacity as the
 Commissioner of the Vermont Department of
 Public Service

                             Defendants.


      STIPULATION REGARDING CONTINGENT EXTENSION OF PENDING
                            DEADLINES

       Plaintiffs the American Cable Association, CTIA – The Wireless Association, NCTA –

The Internet & Television Association, New England Cable & Telecommunications Association,

and USTelecom – The Broadband Association (collectively, “Plaintiffs”), and Defendants Philip

B. Scott, Susanne R. Young, John J. Quinn III, and June E. Tierney in their official capacities

(“Defendants,” and collectively with Plaintiffs, the “Parties”), by and through their respective

counsel, hereby stipulate and agree as follows:
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       WHEREAS, the Parties earlier today jointly filed a Stipulation and [Proposed] Order

Regarding Temporary Stay of Litigation and Injunction Barring Enforcement of Executive Order

No. 2-18 and Act 169 (referred to in Plaintiffs’ Complaint as Senate Bill 289), which, if accepted

by the Court, would stay this action pending resolution of a separate proceeding currently

pending in the U.S. Court of Appeals for the D.C. Circuit.

       WHEREAS, Defendants filed a motion to dismiss this action on December 24, 2018

(ECF No. 24), which has been fully briefed, and Plaintiffs filed a motion for summary judgment

on January 23, 2019 (ECF No. 28), to which Defendants are currently scheduled to respond on

March 15, 2019 (ECF No. 37).

       WHEREAS, Defendants served discovery requests on Plaintiffs on February 8, 2019

(ECF No. 31), to which, by prior agreement of the Parties, Plaintiffs are currently scheduled to

respond on April 3, 2019.

       WHEREAS, a hearing on the aforementioned motions has been set for April 11, 2019

(ECF No. 32).

       WHEREAS, the Parties wish to conserve judicial and party resources, and believe that

brief extensions of time for Defendants’ opposition to Plaintiffs’ motion for summary judgment

and for Plaintiffs’ responses to Defendants’ discovery requests are appropriate to the extent

necessary while the Court considers the Stipulation and [Proposed] Order Regarding Temporary

Stay of Litigation and Injunction Barring Enforcement of Executive Order No. 2-18 and Act 169.

       WHEREAS, the Parties recognize that the instant Stipulation Regarding Contingent

Extension of Pending Deadlines and the accompanying [Proposed] Order will be moot if the

Court enters the [Proposed] Order Regarding Temporary Stay of Litigation and Injunction




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Barring Enforcement of Executive Order No. 2-18 and Act 169 before the current, March 15,

2019 deadline for Defendants’ response to the motion for summary judgment.

       NOW THEREFORE, in consideration of the foregoing, the Parties further stipulate and

agree as follows:

      1.       Defendants’ brief in opposition to Plaintiffs’ motion for summary judgment shall

be filed on or before March 25, 2019.

      2.       Plaintiffs’ responses to Defendants’ discovery requests shall be served on or

before April 12, 2019.




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Dated: March 14, 2019                       Respectfully submitted,


       /s/ David A. Boyd                           /s/ David M. Pocius
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                                            Telecommunications Association, and
                                            USTelecom – The Broadband Association


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